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       ORDERED in the Southern District of Florida on September 23, 2021.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court



                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

          In Re:                                                    Case No. 18-23669-RAM
          YASSER ALMESMAR                                           Chapter 13

                      Debtor     ___________ /

              ORDER GRANTING MOTION TO VACATE ORDER GRANTING DEBTOR’S
           AMENDED MOTION TO VALUE AND TO DETERMINE SECURED STATUS OF LIEN

                 On August 17, 2021, at 9:00 a.m., this Court conducted a hearing upon the

          Debtor’s Motion to Vacate Order Granting Debtor’s Amended Motion to Value and to

          Determine secured Status of Lien [DE # 97] (the “Motion”). The Court having considered

          the Debtor’s Motion, and representations of counsel, it is hereby:

                 ORDERED AND ADJUDGED:

                 1.       That the Motion is GRANTED.

                 2.       The Order [DE #53] Granting Debtor’s Amended Motion to Value and to
          Determine secured Status of Lien is hereby VACATED.
                                               ###
          (Debtors’ counsel is directed to serve a conformed copy of this Order on all interested
          parties immediately upon receipt hereof and to file a certificate of service).

          Submitted by: Haven Del Pino, Esq., 900 West 49th St., Suite # 422, Hialeah, FL 33012
          (305) 362.6277
